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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 CINDY LANDEEN,                            )
                                           )
    Petitioner/Counterclaim Defendant,     )
                                           )
       vs.                                 ) CAUSE NO. 1:04-cv-1815-LJM-WTL
                                           )
 PHONEBILLIT, INC., et al.,                )
                                           )
    Respondents/Counterclaim Defendants,   )
 _________________________________________ )
 STEVEN V. SANN,                           )
                                           )
    Respondent/Intervenor/Counterclaimant, )
                                           )
 NEIL LUCAS,                               )
                                           )
    Respondent/Intervenor/                 )
                   Counterclaim Defendant. )

                             ENTRY ON MOTION TO QUASH

        This cause is before the Magistrate Judge on non-party Timothy Durham’s Verified

 Motion to Quash Subpoena and Respondent/Intervenor/Counterclaimant Steven Sann’s response

 thereto. The Magistrate Judge, being duly advised, GRANTS the motion to quash for the

 reasons set forth below.

        At issue in the motion is a subpoena duces tecum served by Sann on non-party Billing

 Concepts, Inc., (“BCI”). BCI acts as a billing clearinghouse for Respondent/Counterclaim

 Defendant PhoneBILLit; it provides the same service for Durham Technologies, LLC, a direct

 competitor of PhoneBILLit owned by Durham, and for ABC Corporation, a business owned by

 Petitioner/Counterclaim Defendant Cindy Landeen that provides consulting services for Durham

 Technologies. The subpoena seeks the following:

        1.      All communications between you [BCI] and Cindy Landeen.
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        2.      All documents which describe, refer to or relate to Cindy Landeen and/or any
                other business entity (other than PhoneBILLit, Inc. and Mirror Media Co.) that
                Landeen is/was associated with. Your response should include, but not be limited
                to, all marketing, creative materials, and BC WebTrack reports (other than for
                PhoneBILLit, Inc. and Mirror Media Co.).

        3.      All communications between you and Neil Lucas.

        4.      All documents which describe, refer to or relate to Neil Lucas and/or any other
                business entity (other than PhoneBILLit, Inc. and Mirror Media Co.) that Neil
                Lucas is/was associated with. Your response should include, but not be limited to,
                all marketing, creative materials, and BC WebTrack reports (other than for
                PhoneBILLit, Inc. and Mirror Media Co.).

        5.      All communications between you and Tim Durham.

        6.      All documents which describe, refer to or relate to Tim Durham and/or any other
                business entity that Tim Durham is/was associated with. Your response should
                include, but not be limited to, all marketing, creative materials, and BC
                WebTrack reports.

        7.      All communications between you and Alternative Billing Corporation.

        8.      All documents which describe, refer to or relate to Alternate Billing Corporation.
                Your response should include, but not be limited to, all marketing, creative
                materials, and BC WebTrack reports.

 Durham, on behalf of himself and “all of his affiliated entities,” seeks to quash paragraphs 5 and

 6 of the subpoena on the grounds that the information sought in those paragraphs is not relevant

 to this case and implicates Durham’s confidential business information.

        Sann argues that the information regarding Durham is relevant because Sann believes

 that Landeen and Respondent/Counterclaim Defendant Neil Lucas improperly shared proprietary

 information belonging to PhoneBILLit with Durham which enabled him to start (or assisted him

 in starting) Durham Technologies. Sann argues that paragraphs 5 and 6 are “reasonably

 calculated to show when Durham entered the LEC billing industry, what products and services

 he provides, the identity of the vendors he is using, and whether Landeen and Lucas are


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 associated with the business.” He further argues that “the information requested will also show

 the extent to which Durham Technologies benefited [sic.] by utilizing the fruits of PhoneBILLit

 and Sann.” Even assuming that some of this information is relevant to the claims and defenses

 in this case, Sann does not explain, and the Magistrate Judge simply does not see, how it will be

 gleaned from the documents sought in paragraphs 5 and 6 of the subpoena. On the other hand, it

 is clear that the requests are extremely overbroad, and a great deal of wholly irrelevant

 information will be included in the responsive documents in light of that overbreadth.

 Therefore, the Magistrate Judge determines that Durham’s interest in maintaining the

 confidentiality of his business information1 outweighs Sann’s interest in obtaining the limited

 amount of relevant information that might be contained in BCI’s response to paragraphs 5 and 6.

 Accordingly, the motion to quash is GRANTED.

        SO ORDERED: 03/30/2007

                                                         _______________________________
                                                         Hon. William T. Lawrence, Magistrate Judge
                                                         United States District Court
                                                         Southern District of Indiana




 Copies to all counsel of record via electronic notification


        1
         Sann argues that the documents could be produced as “Attorney Eyes Only” or
 “Confidential” pursuant to the protective order, thus protecting Durham’s interest in
 confidentiality. Ordering a non-party to produce confidential documents subject to a protective
 order sometimes is a necessary evil in light of the clear relevance of the documents to the case
 and the unavailability of the relevant information elsewhere, but Sann falls far short of
 demonstrating that this is such an instance.

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